Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 1 of 110




                   Exhibit A
1/8/2019
      Case                          Prada Urizar,
             1:19-cv-20195-JLK Document    10-1PLLCEntered
                                                    Mail - Thankon
                                                                 youFLSD
                                                                    for submitting
                                                                             Docketa FOIA04/30/2019
                                                                                         request.   Page 2 of 110

                                                                                             David Garcia <dgarcia@pradaurizar.com>



 Thank you for submitting a FOIA request.
 6 messages

 U.S. Department of the Interior <doi­webforms@ios.doi.gov>                                                 Mon, Oct 15, 2018 at 12:54 PM
 Reply­To: do­not­reply@ios.doi.gov
 To: dgarcia@pradaurizar.com

    Submitted on Monday, October 15, 2018 ­ 12:54pm
    Submitted form:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description:
    1) The OPA is requesting all information related to FWS's obligations to issue regulations under the Wild Bird
    Conservation Act. Particularly, we are requesting information relating to the agencies failure to include additional species
    on the approved list for captive­bred species.


    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non­profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.

https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614411155281566101&simpl=msg-f%3A1614411155281566101&…   1/4
1/8/2019
      Case                           Prada Urizar,
              1:19-cv-20195-JLK Document    10-1PLLCEntered
                                                     Mail - Thankon
                                                                  youFLSD
                                                                     for submitting
                                                                              Docketa FOIA04/30/2019
                                                                                          request.   Page 3 of 110



 U.S. Department of the Interior <doi­webforms@ios.doi.gov>                                                 Mon, Oct 15, 2018 at 12:56 PM
 Reply­To: do­not­reply@ios.doi.gov
 To: dgarcia@pradaurizar.com

    Submitted on Monday, October 15, 2018 ­ 12:56pm
    Submitted form:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description:
    1) The OPA is also requesting all information, relating to the approval of permits for consortium/cooperative breeding
    agreements.

    1a) This includes but is not limited to all information, relating to the approval of permits of consortium/cooperative breeding
    agreements of CITES appendix 1 listed species.
    [Quoted text hidden]



 U.S. Department of the Interior <doi­webforms@ios.doi.gov>                                                 Mon, Oct 15, 2018 at 12:58 PM
 Reply­To: do­not­reply@ios.doi.gov
 To: dgarcia@pradaurizar.com

    Submitted on Monday, October 15, 2018 ­ 12:58pm
    Submitted form:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA is requesting all information, relating to the approval of permits for personal pets.
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614411155281566101&simpl=msg-f%3A1614411155281566101&…   2/4
1/8/2019
      Case                           Prada Urizar,
              1:19-cv-20195-JLK Document    10-1PLLCEntered
                                                     Mail - Thankon
                                                                  youFLSD
                                                                     for submitting
                                                                              Docketa FOIA04/30/2019
                                                                                          request.   Page 4 of 110
 U.S. Department of the Interior <doi­webforms@ios.doi.gov>                                                   Mon, Oct 15, 2018 at 1:00 PM
 Reply­To: do­not­reply@ios.doi.gov
 To: dgarcia@pradaurizar.com

    Submitted on Monday, October 15, 2018 ­ 1:00pm
    Submitted form:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA requests from FWS all internal documents, memoranda, policy manuals, guidance,
    training manuals, etc. relating to the approval of permits for import or export of exotic avian species into or out of the
    United States.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification: I certify that the above statement(s) concerning expedited processing are true and
    correct to the best of my knowledge and belief.
    [Quoted text hidden]



 U.S. Department of the Interior <doi­webforms@ios.doi.gov>                                                   Mon, Oct 15, 2018 at 1:01 PM
 Reply­To: do­not­reply@ios.doi.gov
 To: dgarcia@pradaurizar.com

    Submitted on Monday, October 15, 2018 ­ 1:01pm
    Submitted form:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA requests from FWS all documents relating to its interpretation of its obligations under
    CITES and how those obligations relate to the agencies ' obligations under the WBCA.
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614411155281566101&simpl=msg-f%3A1614411155281566101&…   3/4
1/8/2019
      Case                           Prada Urizar,
              1:19-cv-20195-JLK Document    10-1PLLCEntered
                                                     Mail - Thankon
                                                                  youFLSD
                                                                     for submitting
                                                                              Docketa FOIA04/30/2019
                                                                                          request.   Page 5 of 110
 U.S. Department of the Interior <doi­webforms@ios.doi.gov>                                                   Mon, Oct 15, 2018 at 1:03 PM
 Reply­To: do­not­reply@ios.doi.gov
 To: dgarcia@pradaurizar.com

    Submitted on Monday, October 15, 2018 ­ 1:03pm
    Submitted form:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA requests from FWS all documents relating to its interpretation of its obligations under
    WBCA.
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614411155281566101&simpl=msg-f%3A1614411155281566101&…   4/4
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 6 of 110




                   Exhibit B
1/8/2019
      Case                       Prada Urizar,10-1
             1:19-cv-20195-JLK Document       PLLC Mail - New Request
                                                     Entered      on(1);FLSD
                                                                         Fwd: FOIA from: David
                                                                                Docket         A. Garcia
                                                                                           04/30/2019    Page 7 of 110

                                                                                             David Garcia <dgarcia@pradaurizar.com>



 New Request (1); Fwd: FOIA from: David A. Garcia
 2 messages

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                               Wed, Oct 17, 2018 at 9:47 AM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041


    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 12:54 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 ­ 12:54pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description:
    1) The OPA is requesting all information related to FWS's obligations to issue regulations under the Wild Bird
    Conservation Act. Particularly, we are requesting information relating to the agencies failure to include additional species
    on the approved list for captive­bred species.


    Requester's Communication Preferences: Electronic communication via email
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614580600100242449&simpl=msg-f%3A1614580600100242449…   1/2
1/8/2019
      Case                        Prada Urizar,10-1
              1:19-cv-20195-JLK Document       PLLC Mail - New Request
                                                      Entered      on(1);FLSD
                                                                          Fwd: FOIA from: David
                                                                                 Docket         A. Garcia
                                                                                            04/30/2019    Page 8 of 110
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non­profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477980




    ­­
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041


 David Garcia <dgarcia@pradaurizar.com>                                                                     Wed, Nov 14, 2018 at 12:34 PM
 To: "FOIA, FWHQ" <fwhq_foia@fws.gov>
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    This is one of several FOIA requests I submitted over 20 working days ago. I have never received a tracking number or
    further confirmation for any of my requests.

    Sent from my iPhone
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614580600100242449&simpl=msg-f%3A1614580600100242449…   2/2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 9 of 110




                   Exhibit C
1/8/2019 Case                      Prada Urizar, PLLC
                1:19-cv-20195-JLK Document        10-1Mail -Entered
                                                            New Requeston
                                                                       (2); Fwd:
                                                                            FLSD FOIADocket
                                                                                      from: David04/30/2019
                                                                                                  A. Garcia Page 10 of
                                                             110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (2); Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Wed, Oct 17, 2018 at 9:49 AM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 12:56 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 ­ 12:56pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description:
    1) The OPA is also requesting all information, relating to the approval of permits for consortium/cooperative breeding
    agreements.

    1a) This includes but is not limited to all information, relating to the approval of permits of consortium/cooperative breeding
    agreements of CITES appendix 1 listed species.

    Requester's Communication Preferences: Electronic communication via email
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614580761920529282&simpl=msg-f%3A1614580761920529282   1/2
1/8/2019 Case
            1:19-cv-20195-JLK Document Prada Urizar, PLLC
                                                      10-1Mail -Entered
                                                                New Requeston
                                                                           (2); Fwd:
                                                                                FLSD FOIADocket
                                                                                          from: David04/30/2019
                                                                                                      A. Garcia Page 11 of
    Document Disclosure Preferences: Electronic copies via email 110
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non­profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477981




    ­­
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614580761920529282&simpl=msg-f%3A1614580761920529282   2/2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 12 of
                                      110




                 Exhibit D
1/8/2019 Case                      Prada Urizar, PLLC
                1:19-cv-20195-JLK Document        10-1Mail -Entered
                                                            New Requeston
                                                                       (3); Fwd:
                                                                            FLSD FOIADocket
                                                                                      from: David04/30/2019
                                                                                                  A. Garcia Page 13 of
                                                             110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (3); Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Wed, Oct 17, 2018 at 9:51 AM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 12:57 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 ­ 12:58pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA is requesting all information, relating to the approval of permits for personal pets.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614580847222877312&simpl=msg-f%3A1614580847222877312   1/2
1/8/2019 Case  1:19-cv-20195-JLK Document Prada Urizar, PLLC
                                                         10-1Mail -Entered
                                                                   New Requeston
                                                                              (3); Fwd:
                                                                                   FLSD FOIADocket
                                                                                             from: David04/30/2019
                                                                                                         A. Garcia Page 14 of
    To assist in determining my requester category to assess fees,  110you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization:

    This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA is a non­profit
    organization that supports and advocates for the conservation of avian species by encouraging cooperation between in
    situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional aviculturist
    have a positive impact on the future of avian species.

    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477982




    ­­
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614580847222877312&simpl=msg-f%3A1614580847222877312   2/2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 15 of
                                      110




                  Exhibit E
1/8/2019 Case                      Prada Urizar, PLLC
                1:19-cv-20195-JLK Document        10-1Mail -Entered
                                                            New Requeston
                                                                       (4); Fwd:
                                                                            FLSD FOIADocket
                                                                                      from: David04/30/2019
                                                                                                  A. Garcia Page 16 of
                                                             110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (4); Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Wed, Oct 17, 2018 at 9:53 AM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 12:59 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 ­ 1:00pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA requests from FWS all internal documents, memoranda, policy manuals, guidance,
    training manuals, etc. relating to the approval of permits for import or export of exotic avian species into or out of the
    United States.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification: I certify that the above statement(s) concerning expedited processing are true and
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614581018089849449&simpl=msg-f%3A1614581018089849449   1/2
1/8/2019 Case  1:19-cv-20195-JLK DocumentPrada Urizar, PLLC
                                                        10-1Mail -Entered
                                                                  New Requeston
                                                                             (4); Fwd:
                                                                                  FLSD FOIADocket
                                                                                            from: David04/30/2019
                                                                                                        A. Garcia Page 17 of
    correct to the best of my knowledge and belief.                110
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization:
    This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA is a non­profit
    organization that supports and advocates for the conservation of avian species by encouraging cooperation between in
    situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional aviculturist
    have a positive impact on the future of avian species.

    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477983




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    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614581018089849449&simpl=msg-f%3A1614581018089849449   2/2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 18 of
                                      110




                  Exhibit F
1/8/2019 Case                      Prada Urizar, PLLC
                1:19-cv-20195-JLK Document        10-1Mail -Entered
                                                            New Requeston
                                                                       (5); Fwd:
                                                                            FLSD FOIADocket
                                                                                      from: David04/30/2019
                                                                                                  A. Garcia Page 19 of
                                                             110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (5); Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Wed, Oct 17, 2018 at 9:54 AM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 1:00 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 ­ 1:01pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA requests from FWS all documents relating to its interpretation of its obligations under
    CITES and how those obligations relate to the agencies ' obligations under the WBCA.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification: I certify that the above statement(s) concerning expedited processing are true and
    correct to the best of my knowledge and belief.
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614581080812759550&simpl=msg-f%3A1614581080812759550   1/2
1/8/2019 Case 1:19-cv-20195-JLK Document Prada Urizar, PLLC
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                                                                  New Requeston
                                                                             (5); Fwd:
                                                                                  FLSD FOIADocket
                                                                                            from: David04/30/2019
                                                                                                        A. Garcia Page 20 of
    Please select the appropriate statement: I am requesting a 110 waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non­profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477984




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    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614581080812759550&simpl=msg-f%3A1614581080812759550   2/2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 21 of
                                      110




                 Exhibit G
1/8/2019 Case                      Prada Urizar, PLLC
                1:19-cv-20195-JLK Document        10-1Mail -Entered
                                                            New Requeston
                                                                       (6); Fwd:
                                                                            FLSD FOIADocket
                                                                                      from: David04/30/2019
                                                                                                  A. Garcia Page 22 of
                                                             110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (6); Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Wed, Oct 17, 2018 at 9:55 AM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 1:03 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 ­ 1:03pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA requests from FWS all documents relating to its interpretation of its obligations under
    WBCA.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification: I certify that the above statement(s) concerning expedited processing are true and
    correct to the best of my knowledge and belief.
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614581141662834248&simpl=msg-f%3A1614581141662834248   1/2
1/8/2019 Case 1:19-cv-20195-JLK Document Prada Urizar, PLLC
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                                                                  New Requeston
                                                                             (6); Fwd:
                                                                                  FLSD FOIADocket
                                                                                            from: David04/30/2019
                                                                                                        A. Garcia Page 23 of
    Please select the appropriate statement: I am requesting a 110 waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non­profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477985




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    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614581141662834248&simpl=msg-f%3A1614581141662834248   2/2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 24 of
                                      110




                 Exhibit H
1/8/2019 Case   1:19-cv-20195-JLK Prada Urizar, PLLC10-1
                                   Document          Mail - New Request (1,on
                                                              Entered      12/18);
                                                                               FLSDFwd: FOIA from: David
                                                                                         Docket          A. Garcia
                                                                                                    04/30/2019     Page 25 of
                                                               110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (1, 12/18); Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Thu, Oct 18, 2018 at 3:35 PM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 18,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041


    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Thu, Oct 18, 2018 at 11:35 AM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Thursday, October 18, 2018 ­ 11:35am
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? Yes
    If so, who are you filing the request on behalf of? Organization of Professional Aviculturists
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA request all information relating to the attempt by the Argentinian CITES authority to petition
    the USFWS to allow for sustainable import of blue front amazon
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614693128396270437&simpl=msg-f%3A1614693128396270437   1/2
1/8/2019 Case 1:19-cv-20195-JLK Prada      Urizar, PLLC10-1
                                        Document        Mail - New Request (1,on
                                                                 Entered      12/18);
                                                                                  FLSDFwd: FOIA from: David
                                                                                            Docket          A. Garcia
                                                                                                       04/30/2019     Page 26 of
    Please select the appropriate statement: I am requesting a 110 waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $10
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non­profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: e OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/478677




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    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614693128396270437&simpl=msg-f%3A1614693128396270437   2/2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 27 of
                                      110




                   Exhibit I
1/8/2019 Case   1:19-cv-20195-JLK Prada Urizar, PLLC10-1
                                   Document          Mail - New Request (2)on
                                                             Entered        12/18; Fwd: FOIA
                                                                                FLSD         from: David
                                                                                         Docket          A. Garcia
                                                                                                    04/30/2019     Page 28 of
                                                               110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (2) 12/18; Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Thu, Oct 18, 2018 at 3:36 PM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 18,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Thu, Oct 18, 2018 at 11:38 AM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Thursday, October 18, 2018 ­ 11:38am
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? Yes
    If so, who are you filing the request on behalf of? Organization of Professional Aviculturists
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: All information relating to FWS procedures for considering a petition under section 4909 of the Wild
    Bird Conservation Act.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614693195523816866&simpl=msg-f%3A1614693195523816866   1/2
1/8/2019 Case  1:19-cv-20195-JLK Prada         Urizar, PLLC10-1
                                          Document          Mail - New Request (2)on
                                                                    Entered        12/18; Fwd: FOIA
                                                                                       FLSD         from: David
                                                                                                Docket          A. Garcia
                                                                                                           04/30/2019     Page 29 of
    I agree to pay fees up to this particular amount: $10             110
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: Organization of Professional Aviculturist (OPA)
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: e OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/478678




    ­­
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 30 of
                                      110




                   Exhibit J
1/8/2019 Case   1:19-cv-20195-JLK Prada Urizar, PLLC10-1
                                   Document          Mail - New Request (3)on
                                                             Entered        12/18; Fwd: FOIA
                                                                                FLSD         from: David
                                                                                         Docket          A. Garcia
                                                                                                    04/30/2019     Page 31 of
                                                               110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 New Request (3) 12/18; Fwd: FOIA from: David A. Garcia
 1 message

 FOIA, FWHQ <fwhq_foia@fws.gov>                                                                                Thu, Oct 18, 2018 at 3:38 PM
 To: dgarcia@pradaurizar.com
 Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 18,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ­­­­­­­­­­ Forwarded message ­­­­­­­­­
    From: U.S. Department of the Interior <doi­webforms@ios.doi.gov>
    Date: Thu, Oct 18, 2018 at 12:26 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Thursday, October 18, 2018 ­ 12:26pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E­mail Address: dgarcia@pradaurizar.com
    Confirm E­mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? Yes
    If so, who are you filing the request on behalf of? Organization of Professional Aviculturists
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. § 2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA is requesting all information and internal guidance relating to USFWS interpretation of
    sections 4905 and 4906 of the Wild Bird Conservation Act
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1614693309705846925&simpl=msg-f%3A1614693309705846925   1/2
1/8/2019 Case  1:19-cv-20195-JLK Prada         Urizar, PLLC10-1
                                          Document          Mail - New Request (3)on
                                                                    Entered        12/18; Fwd: FOIA
                                                                                       FLSD         from: David
                                                                                                Docket          A. Garcia
                                                                                                           04/30/2019     Page 32 of
    I agree to pay fees up to this particular amount: $10             110
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: Organization of Professional Aviculturist (OPA)
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     ­ Disclosure of the information is in the public interest because it is likely to contribute significantly to public understanding
    of the operations or activities of the Government.
     ­ Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.:
     The OPA is requesting information regarding the Wild Bird Conservation Act and relevant agency actions so as to
    determine if the agency is complying with its obligations under the statute and to further determine if legal action is
    needed to ensure that agency appropriately complies with its obligations. This information is not for a commercial purpose
    but is research undertaken by the OPA to determine what actions the agency has so far taken to comply with its
    obligations under WBCA and what actions the OPA will take in light of those actions. This information is necessary to
    provide the public with a greater understanding of the government's actions and will be publicized by the OPA, without a
    commercial gain on our part.



    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/478696




    ­­
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041




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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 33 of
                                      110




                 Exhibit K
1/8/2019 Case             Prada Urizar, PLLC
                1:19-cv-20195-JLK            Mail - Out of Ofﬁce
                                          Document         10-1Re: Entered
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                                                                                  New Request (1); Fwd:04/30/2019
                                                                                          Docket        FOIA from: David A.Page
                                                                                                                            Garcia 34 of
                                                                     110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 Out of Office Re: [EXTERNAL] Re: New Request (1); Fwd: FOIA from: David A.
 Garcia
 1 message

 Cogliano, Mary <mary_cogliano@fws.gov>                                                                      Wed, Nov 14, 2018 at 12:34 PM
 To: dgarcia@pradaurizar.com

    I will be out of the office through November 23rd. If you have permit­related questions, please contact us at
    managementauthority@fws.gov or call 1­800­358­2104. If you have an urgent matter and wish to speak to a manager,
    please contact Acting Branch Chief, Clifton Horton at (703) 358­1908 or
    clifton_horton@fws.gov.



    ­­
    Mary Cogliano, Ph.D.
    Chief, Branch of Permits
    Division of Management Authority
    U.S. Fish and Wildlife Service
    5275 Leesburg Pike, MS: IA
    Falls Church, VA 22041­3803
    Phone: (703) 358­1991




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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 35 of
                                      110




                  Exhibit L
1/8/2019 Case                                Prada Urizar,
                1:19-cv-20195-JLK Document 10-1    Entered PLLC Mail
                                                                on -FLSD
                                                                     FOIA requests
                                                                             Docket 04/30/2019 Page 36 of
                                                     110
                                                                                             David Garcia <dgarcia@pradaurizar.com>



 FOIA requests
 3 messages

 Tapia, Brenda <brenda_tapia@fws.gov>                                                                          Fri, Nov 16, 2018 at 2:27 PM
 To: dgarcia@pradaurizar.com
 Cc: "Hyde­Michaels, Carrie" <carrie_hyde­michaels@fws.gov>

    Dear Mr. Garcia,

    Please see the FOIA request numbers for reference. We are in the process of creating the acknowledgement letters and
    determine which program within International Affairs will be processing your requests.


    FWS­2019­00156:
    "The OPA request all information relating to the attempt by the Argentinian CITES authority to petition the USFWS to allow
    for sustainable import of blue front amazon."


    FWS­2019­00157:
    "The OPA is requesting all information and internal guidance relating to USFWS interpretation of sections 4905 and 4906
    of the Wild Bird Conservation Act."


    FWS­2019­00158:
    "All information relating to FWS procedures for considering a petition under section 4909 of the Wild Bird Conservation
    Act."


    FWS­2019­00159:
    "1) The OPA is also requesting all information, relating to the approval of permits for consortium/cooperative breeding
    agreements.

    1a) This includes but is not limited to all information, relating to the approval of permits of consortium/cooperative breeding
    agreements of CITES appendix 1 listed species."


    FWS­2019­00160:
    "The OPA requests from FWS all documents relating to its interpretation of its obligations under WBCA."


    FWS­2019­00161:
    "1) The OPA is requesting all information related to FWS's obligations to issue regulations under the Wild Bird
    Conservation Act. Particularly, we are requesting information relating to the agencies failure to include additional species
    on the approved list for captive­bred species."


    FWS­2019­00162:
    "The OPA is requesting all information, relating to the approval of permits for personal pets."


    FWS­2019­00163:
    "The OPA requests from FWS all internal documents, memoranda, policy manuals, guidance, training manuals, etc.
    relating to the approval of permits for import or export of exotic avian species into or out of the United States."

    If you have any questions, please do not hesitate to contact me.
    ­­

    Thank you,
    Brenda Tapia
https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1617319934535153582&simpl=msg-f%3A1617319934535153582…   1/4
1/8/2019 Case                             Prada Urizar,
             1:19-cv-20195-JLK Document 10-1    Entered PLLC Mail
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                                                                  FOIA requests
                                                                          Docket 04/30/2019 Page 37 of
    Program Analyst/Data Management               110
    U.S. Fish and Wildlife Service
    Division of Management Authority (DMA)
    Branch of Permits, MS: IA
    5275 Leesburg Pike
    Falls Church, VA 22041
    Ph: 800-358-2104 x.1989 or 703-358-2104 x.1989
    Fax: 703-358-2280
    Sign up for our e­newsletter to learn how we're working around the globe to protect species and their habitats!


 David Garcia <dgarcia@pradaurizar.com>                                                                        Fri, Nov 16, 2018 at 2:49 PM
 To: Brenda Tapia <brenda_tapia@fws.gov>
 Cc: Mark Prada <mprada@pradaurizar.com>

    Hello Ms. Tapia,

    Thank you for the information. However, all of the Organization of Professional Aviculturalist's FOIA requests are outside
    the 20 business day statutory period for a response from the agency. Nor has the agency invoked the 10­day extension,
    which as I'm sure you know, means the agency is not in compliance with its statutory obligations.

    Therefore, we are expecting a response as soon as possible. I spoke with FOIA Liason Carrie Hyde­Michaels yesterday.
    She informed me that the agency did not intend to comply with the statutory obligation, this is very concerning. I do not
    have my conversation notes in front of me, but I believe Ms. Hyde­Michaels informed me that it could be months until the
    agency would provide a response to these requests. Frankly, this is unacceptable.

    When do you expect the agency to provide a response?

    ­­
    Thank you,
    David A. Garcia
    Law Clerk




    3191 Coral Way, Suite 607 | Miami, Florida 33145
    T: (786) 703­2061 | F: (786) 708­9508 | D: (786) 238­2222
    www.pradaurizar.com


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    will it constitute a waiver of the work­product doctrine.

    [Quoted text hidden]
    ­­
    Thank you,
    David A. Garcia
    Law Clerk




    3191 Coral Way, Suite 607 | Miami, Florida 33145
    T: (786) 703­2061 | F: (786) 708­9508 | D: (786) 238­2222
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1/8/2019 Case                            Prada Urizar,
            1:19-cv-20195-JLK Document 10-1    Entered PLLC Mail
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                                                                         Docket 04/30/2019 Page 38 of
    www.pradaurizar.com                          110


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    responsible to deliver it to the intended recipient, please destroy the email after advising by reply that you erroneously
    received this. The receipt by anyone other than the designated recipient does not waive the attorney­client privilege, nor
    will it constitute a waiver of the work­product doctrine.



 Tapia, Brenda <brenda_tapia@fws.gov>                                                                        Mon, Nov 19, 2018 at 7:10 AM
 To: dgarcia@pradaurizar.com

    Dear Mr. Garcia,

    The FOIA requests that you have submitted are very broad in nature and will take additional time to process as written. If
    you would like to narrow the scope of any of the requests, such as limiting the timeframe to just the last two years, it would
    be significantly faster to process these requests. Please see the estimated timeframe to process each request below.
    They would all be processed within the same office by the same individual, so if you are able to identify which requests
    you would like to receive first, that would help us prioritize which one to begin with.

    FWS­2019­00156:
    "The OPA request all information relating to the attempt by the Argentinian CITES authority to petition the USFWS to allow
    for sustainable import of blue front amazon."

    This request is very broad and the search results will be voluminous. It could take an estimated 8 months to complete
    since we may need to go to the off site storage facility to retrieve numerous boxes, which would then have to be reviewed
    by hand. We would suggest that you narrow the scope to a more specific timeframe, such as the past two years. The
    cost of processing this request will be more than the $100 you have indicated you are willing to pay.

    FWS­2019­00157:
    "The OPA is requesting all information and internal guidance relating to USFWS interpretation of sections 4905 and 4906
    of the Wild Bird Conservation Act."

    For this request, the estimated completion date would be less than a month from the start of processing the request.


    FWS­2019­00158:
    "All information relating to FWS procedures for considering a petition under section 4909 of the Wild Bird Conservation
    Act."

    For this request, the estimated time frame of completion would be less than a month from the start of processing the
    request.


    FWS­2019­00159:
    "1) The OPA is also requesting all information, relating to the approval of permits for consortium/cooperative breeding
    agreements.

    1a) This includes but is not limited to all information, relating to the approval of permits of consortium/cooperative breeding
    agreements of CITES appendix 1 listed species."

    This is a very broad request. We estimate that it would take 4 months or longer to process. Suggestions to narrow: Are
    you looking for the looking for cooperate breeding agreements that are current and not expired? Would a spreadsheet be
    acceptable? Would the agreement letter be acceptable? What species are you looking for? What timeframe are you
    looking for? If you can narrow the scope and clarify, this request may be completed in a shorter time frame of estimated 2
    months. The cost of this request as written will also be more than $100 per what you are willing to pay.


    FWS­2019­00160:
    "The OPA requests from FWS all documents relating to its interpretation of its obligations under WBCA."

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1/8/2019 Case                                 Prada Urizar,
                 1:19-cv-20195-JLK Document 10-1    Entered PLLC Mail
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                                                                              Docket 04/30/2019 Page 39 of
                                                      110
    For this request, the estimated time frame of completion would be less than a month from the start of processing the
    request.


    FWS­2019­00161:
    "1) The OPA is requesting all information related to FWS's obligations to issue regulations under the Wild Bird
    Conservation Act. Particularly, we are requesting information relating to the agencies failure to include additional species
    on the approved list for captive­bred species."

    For this request, the estimated time frame of completion would be less than a month from the start of processing the
    request.


    FWS­2019­00162:
    "The OPA is requesting all information, relating to the approval of permits for personal pets."

    This request is extremely broad and could take years to complete. Suggestions to narrow: Are you looking for copies of
    permits, or copies of applications, or just a spreadsheet of what has been approved? What timeframe are you looking
    into? What species are you looking for? Even if you narrow the scope to the past two years, there are an estimated 847
    files associated with personal pets (applications and issued permits), so the estimated time to complete would be 6
    months. If you were to narrow the scope to one year (applications with permits) or to accept a spreadsheet, this request
    may be completed in a shorter time frame, likely an estimated 3 months (except for the spreadsheet, which could be
    processed within a couple of weeks). The cost to process this request as written will be more than $100 per what you are
    willing to pay.


    FWS­2019­00163:
    "The OPA requests from FWS all internal documents, memoranda, policy manuals, guidance, training manuals, etc.
    relating to the approval of permits for import or export of exotic avian species into or out of the United States."

    The estimated time to complete this request is 6 months, due to the need to search in different locations to gather this
    information. The cost to process this request may be more than $100 per what you are willing to pay.

    Thank you,
    Brenda Tapia
    [Quoted text hidden]




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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 40 of
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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 45 of
                                      110




                 Exhibit O
1/8/2019 Case                           Prada
                1:19-cv-20195-JLK Document    Urizar, PLLC
                                           10-1            Mail - OPA
                                                      Entered      onUSFWS
                                                                      FLSDFOIA requests 04/30/2019 Page 46 of
                                                                            Docket
                                                        110
                                                                                             David Garcia <dgarcia@pradaurizar.com>



 OPA USFWS FOIA requests
 2 messages

 Ford, Patricia <patricia_ford@fws.gov>                                                                     Wed, Nov 28, 2018 at 12:51 PM
 To: dgarcia@pradaurizar.com
 Cc: "Tapia, Brenda" <brenda_tapia@fws.gov>

    Dear Mr. Garcia,

    Please find attached six acknowledgment letters to you regarding your USFWS FOIA requests: 2019­00156, 2019­00157,
    2019­00158, 2019­00159, 2019­00160, and 2019­00161.
    Please confirm receipt of this email.
    Best regards,
    Pat

    Pat Ford
    Division of Scientific Authority
    U.S. Fish & Wildlife Service ­ International Affairs
    5275 Leesburg Pike, MS: IA
    Falls Church, VA 22041­3803
    703­358­2494 / patricia_ford@fws.gov




     6 attachments
         FWS 2019­00159 ack ltr.pdf
         249K
         FWS­2019­00156 ack ltr.pdf
         267K
         FWS 2019­00160 ack ltr.pdf
         233K
         FWS 2019­00157 ack ltr.pdf
         265K
         FWS 2019­00158 ack ltr.pdf
         226K
         FWS 2019­00061 ack ltr.pdf
         244K


 David Garcia <dgarcia@pradaurizar.com>                                                                      Wed, Nov 28, 2018 at 1:30 PM
 To: mprada@pradaurizar.com



    Sent from my iPhone

    Begin forwarded message:


https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1618401052773757322&simpl=msg-f%3A1618401052773757322…   1/2
1/8/2019 Case  1:19-cv-20195-JLK Document          Prada Urizar, PLLC
                                                      10-1            Mail - OPA
                                                                 Entered      onUSFWS
                                                                                 FLSDFOIA requests 04/30/2019 Page 47 of
                                                                                       Docket
            From: "Ford, Patricia" <patricia_ford@fws.gov>         110
            Date: November 28, 2018 at 12:51:24 PM EST
            To: <dgarcia@pradaurizar.com>
            Cc: "Tapia, Brenda" <brenda_tapia@fws.gov>
            Subject: OPA USFWS FOIA requests


    [Quoted text hidden]




     6 attachments
          FWS 2019­00159 ack ltr.pdf
          249K
          FWS­2019­00156 ack ltr.pdf
          267K
          FWS 2019­00160 ack ltr.pdf
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          FWS 2019­00061 ack ltr.pdf
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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 48 of
                                      110


                             United States Department of the Interior
                                     FISH AND WILDLIFE SERVICE
                                         5275 Leesburg Pike, MS: IRTM
                                            Falls Church, VA 22041


In Reply Refer To:
FWS/AIA/DSA/FOIA-FWS-2019-00156                November 28, 2018


David A. Garcia
Organization of Professional Aviculturists
3191 Coral Way, Suite 607
Miami, Florida 33145
E-mail address: dgarcia@pradaurizar.com

Dear Mr. Garcia:

The U.S. Fish and Wildlife Service Headquarters Freedom of Information Act (FOIA) Office received
your FOIA request dated October 18, 2018 and assigned it control number FWS-2019-00156. Please cite
this number in any future communications with our office regarding your request. You requested the
following:

          “…all information relating to the attempt by the Argentinian CITES authority to petition the
          USFWS to allow for sustainable import of blue front amazon.”

We have classified you as an “other-use” requester. As such, we may charge you for some of our
search and duplication costs, but we will not charge you for our review costs; you are also
entitled to up to 2 hours of search time and 100 pages of photocopies (or an equivalent volume)
for free. See 43 C.F.R. § 2.39. However, if our processing costs are less than $50.00, we will not
bill you because the cost of collection would be greater than the fee collected. See 43 C.F.R. §
2.37(g).

We use Multitrack Processing to process FOIA requests. The Simple track is for requests that can be
processed in one to five workdays. The Normal track is for requests that can be processed in six to twenty
workdays. The Complex track is for requests that can be processed in twenty- one to sixty workdays. The
Exceptional/Voluminous track is for requests requiring more than sixty workdays for processing. The
Expedited track is for requests that have been granted expedited processing. Within each track, requests
are usually processed on a first-in, first-out basis.

Your request falls into the complex processing track. You may narrow the scope of your request to
obtain quicker processing in your currently- assigned track or move the request into a faster track. If you
have any questions about this, please contact us.

As yet, we have been unable to make a determination on your request. We apologize for this delay.
Although we hope that you will wait so that we can complete our search, review, duplication, or
consultation process, please note that you may seek dispute resolution services from our FOIA Public

                                                 1
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 49 of
                                      110
Liaison, Carrie Hyde-Michaels at (703) 358-2291 and/or seek dispute resolution services from the Office
of Government Information Services (OGIS).
If you choose to contact OGIS, you may do so in any of the following ways:

                             Office of Government Information Services
                            National Archives and Records Administration
                                     8601 Adelphi Road - OGIS
                                   College Park, MD 20740-6001
                                       E-mail: ogis@nara.gov
                                    Web: https://ogis.archives.gov
                                      Telephone: 202-741-5770
                                         Fax: 202-741-5769
                                      Toll-free: 1-877-684-6448

You may also file an appeal with the Department’s FOIA/Privacy Act Appeals Officer regarding this
delay. If you choose to appeal this delay, you may do so anytime between now and the date we make our
determination on the FOIA request. Appeals arriving or delivered after 5 p.m. Eastern Time, Monday
through Friday, will be deemed received on the next workday.

Your appeal must be made in writing. You may submit your appeal and accompanying materials to
the FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All communications
concerning your appeal should be clearly marked with the words: "FREEDOM OF INFORMATION
APPEAL." You must also include with your appeal copies of all correspondence between you and FWS
concerning your FOIA request, including your original FOIA request and FWS's response. Failure to
include with your appeal all correspondence between you and FWS will result in the Department's
rejection of your appeal, unless the FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy
Act Appeals Officer’s sole discretion) that good cause exists to accept the defective appeal.

Please include your name and daytime telephone number (or the name and telephone number of an
appropriate contact), email address and fax number (if available) in case the FOIA/Privacy Act Appeals
Officer needs additional information or clarification of your appeal.

                      DOI FOIA/Privacy Act Appeals Office Contact Information

                                       Department of the Interior
                                        Office of the Solicitor
                                         1849 C Street, N.W.
                                            MS-6556 MIB
                                        Washington, DC 20240

                                Attn: FOIA/Privacy Act Appeals Office

                                     Telephone: (202) 208-5339
                                         Fax: (202) 208-6677
                                  E-mail: FOIA.Appeals@sol.doi.gov




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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 50 of
                                      110


We regret the delay and appreciate your consideration. For more information on FOIA
Administrative Appeals, you may review the Department’s FOIA regulations at 43 C.F.R. Part 2,
Subpart H. If you have any questions, you may contact Brenda Tapia by phone at (703) 359-1989,
or by email at brenda_tapia@fws.gov.

                                          Sincerely,




                                          Carrie Hyde-Michaels
                                   For
                                          FWS FOIA Officer




                                            3
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 51 of
                                      110
                        United States Department of the Interior
                                 FISH AND WILDLIFE SERVICE
                                     5275 Leesburg Pike, MS: IRTM
                                        Falls Church, VA 22041
  In Reply Refer To:
  FWS/AIA/DSA/FOIA: 2019-00157

                                         November 28, 2018


  David A. Garcia
  Organization of Professional Aviculturists
  3191 Coral Way, Suite 607
  Miami, Florida 33145
  E-mail address: dgarcia@pradaurizar.com

  Dear Mr. Garcia:

  The U.S. Fish and Wildlife Service Headquarters Freedom of Information Act (FOIA) Office
  received your FOIA request dated October 18, 2018 and assigned it control number FWS-2019-
  00157. Please cite this number in any future communications with our office regarding your
  request. You requested the following:

      “…all information and internal guidance relating to USFWS interpretation of sections 4905
      and 4906 of the Wild Bird Conservation Act.”

  We have classified you as an “other-use” requester. As such, we may charge you for
  some of our search and duplication costs, but we will not charge you for our review
  costs; you are also entitled to up to 2 hours of search time and 100 pages of photocopies
  (or an equivalent volume) for free. See 43 C.F.R. § 2.39. However, if our processing
  costs are less than $50.00, we will not bill you because the cost of collection would be
  greater than the fee collected. See 43 C.F.R. § 2.37(g).

  We use Multitrack Processing to process FOIA requests. The Simple track is for requests that
  can be processed in one to five workdays. The Normal track is for requests that can be processed
  in six to twenty workdays. The Complex track is for requests that can be processed in twenty-
  one to sixty workdays. The Exceptional/Voluminous track is for requests requiring more than
  sixty workdays for processing. The Expedited track is for requests that have been granted
  expedited processing. Within each track, requests are usually processed on a first-in, first-out
  basis.

  We have determined that your FOIA request is within the complex processing track. You may
  narrow the scope of your request to obtain quicker processing in your currently assigned track or
  move the request into a faster track. If you have any questions about this, please contact us.

  As yet, we have been unable to make a determination on your request. We apologize for this
  delay. Although we hope that you will wait so that we can complete our search, review,
  duplication, or consultation process, please note that you may seek dispute resolution services
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 52 of
                                      110
  Mr. Garcia


  from our FOIA Public Liaison, Carrie Hyde-Michaels at (703) 358-2291 and/or seek dispute
  resolution services from the Office of Government Information Services (OGIS).
  If you choose to contact OGIS, you may do so in any of the following ways:

                           Office of Government Information Services
                          National Archives and Records Administration
                                   8601 Adelphi Road - OGIS
                                 College Park, MD 20740-6001
                                     E-mail: ogis@nara.gov
                                  Web: https://ogis.archives.gov
                                    Telephone: 202-741-5770
                                       Fax: 202-741-5769
                                    Toll-free: 1-877-684-6448

  You may also file an appeal with the Department’s FOIA/Privacy Act Appeals Officer regarding
  this delay. If you choose to appeal this delay, you may do so anytime between now and the date
  we make our determination on the FOIA request. Appeals arriving or delivered after 5 p.m.
  Eastern Time, Monday through Friday, will be deemed received on the next workday.

  Your appeal must be made in writing. You may submit your appeal and accompanying
  materials to the FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All
  communications concerning your appeal should be clearly marked with the words: "FREEDOM
  OF INFORMATION APPEAL." You must also include with your appeal copies of all
  correspondence between you and FWS concerning your FOIA request, including your original
  FOIA request and FWS's response. Failure to include with your appeal all correspondence
  between you and FWS will result in the Department's rejection of your appeal, unless the
  FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy Act Appeals Officer’s sole
  discretion) that good cause exists to accept the defective appeal.

  Please include your name and daytime telephone number (or the name and telephone number of
  an appropriate contact), email address and fax number (if available) in case the FOIA/Privacy
  Act Appeals Officer needs additional information or clarification of your appeal.

                    DOI FOIA/Privacy Act Appeals Office Contact Information

                                    Department of the Interior
                                     Office of the Solicitor
                                      1849 C Street, N.W.
                                         MS-6556 MIB
                                     Washington, DC 20240

                              Attn: FOIA/Privacy Act Appeals Office

                                  Telephone: (202) 208-5339
                                      Fax: (202) 208-6677
                               E-mail: FOIA.Appeals@sol.doi.gov

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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 53 of
                                      110
  Mr. Garcia


  We regret the delay and appreciate your consideration. For more information on FOIA
  Administrative Appeals, you may review the Department’s FOIA regulations at 43 C.F.R. Part 2,
  Subpart H. If you have any further questions relating to this response, please contact Ms. Pat
  Ford (USFWS Division of Scientific Authority, MS: IA, 5275 Leesburg Pike, Falls Church,
  Virginia 22041 (phone: 703- 358-2494; e-mail: patricia_ford@fws.gov).

                                             Sincerely,




                                             Carrie Hyde-Michaels
                                     For     FWS FOIA Officer




                                                3
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 54 of
                                      110
                        United States Department of the Interior
                                 FISH AND WILDLIFE SERVICE
                                     5275 Leesburg Pike, MS: IRTM
                                        Falls Church, VA 22041


  In Reply Refer To:
  FWS/AIA/DSA/FOIA: 2019-00158
                                           November 28, 2018


  David A. Garcia
  Organization of Professional Aviculturists
  3191 Coral Way, Suite 607
  Miami, Florida 33145
  E-mail address: dgarcia@pradaurizar.com

  Dear Mr. Garcia:

  The U.S. Fish and Wildlife Service Headquarters Freedom of Information Act (FOIA) Office
  received your FOIA request dated October 18, 2018 and assigned it control number FWS-2019-
  00158. Please cite this number in any future communications with our office regarding your
  request. You requested the following:

        “…All information relating to FWS procedures for considering a petition under
        section 4909 of the Wild Bird Conservation Act.”

  We have classified you as an “other-use” requester. As such, we may charge you for
  some of our search and duplication costs, but we will not charge you for our review
  costs; you are also entitled to up to 2 hours of search time and 100 pages of photocopies
  (or an equivalent volume) for free. See 43 C.F.R. § 2.39. However, if our processing
  costs are less than $50.00, we will not bill you because the cost of collection would be
  greater than the fee collected. See 43 C.F.R. § 2.37(g).

  We use Multitrack Processing to process FOIA requests. The Simple track is for requests that
  can be processed in one to five workdays. The Normal track is for requests that can be processed
  in six to twenty workdays. The Complex track is for requests that can be processed in twenty-
  one to sixty workdays. The Exceptional/Voluminous track is for requests requiring more than
  sixty workdays for processing. The Expedited track is for requests that have been granted
  expedited processing. Within each track, requests are usually processed on a first-in, first-out
  basis.

  Your request falls into the complex processing track. You may narrow the scope of your request
  to obtain quicker processing in your currently- assigned track or move the request into a faster
  track. If you have any questions about this, please contact us.

  As yet, we have been unable to make a determination on your request. We apologize for this
  delay. Although we hope that you will wait so that we can complete our search, review,
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 55 of
                                      110
  Mr. Garcia


  duplication, or consultation process, please note that you may seek dispute resolution services
  from our FOIA Public Liaison, Carrie Hyde-Michaels at (703) 358-2291 and/or seek dispute
  resolution services from the Office of Government Information Services (OGIS).
  If you choose to contact OGIS, you may do so in any of the following ways:

                            Office of Government Information Services
                           National Archives and Records Administration
                                    8601 Adelphi Road - OGIS
                                  College Park, MD 20740-6001
                                      E-mail: ogis@nara.gov
                                   Web: https://ogis.archives.gov
                                     Telephone: 202-741-5770
                                        Fax: 202-741-5769
                                     Toll-free: 1-877-684-6448

  You may also file an appeal with the Department’s FOIA/Privacy Act Appeals Officer regarding
  this delay. If you choose to appeal this delay, you may do so anytime between now and the date
  we make our determination on the FOIA request. Appeals arriving or delivered after 5 p.m.
  Eastern Time, Monday through Friday, will be deemed received on the next workday.

  Your appeal must be made in writing. You may submit your appeal and accompanying
  materials to the FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All
  communications concerning your appeal should be clearly marked with the words: "FREEDOM
  OF INFORMATION APPEAL." You must also include with your appeal copies of all
  correspondence between you and FWS concerning your FOIA request, including your original
  FOIA request and FWS's response. Failure to include with your appeal all correspondence
  between you and FWS will result in the Department's rejection of your appeal, unless the
  FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy Act Appeals Officer’s sole
  discretion) that good cause exists to accept the defective appeal.

  Please include your name and daytime telephone number (or the name and telephone number of
  an appropriate contact), email address and fax number (if available) in case the FOIA/Privacy
  Act Appeals Officer needs additional information or clarification of your appeal.

                    DOI FOIA/Privacy Act Appeals Office Contact Information

                                      Department of the Interior
                                       Office of the Solicitor
                                        1849 C Street, N.W.
                                           MS-6556 MIB
                                       Washington, DC 20240

                               Attn: FOIA/Privacy Act Appeals Office




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Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 56 of
                                      110
  Mr. Garcia


                                  Telephone: (202) 208-5339
                                      Fax: (202) 208-6677
                               E-mail: FOIA.Appeals@sol.doi.gov

  We regret the delay and appreciate your consideration. For more information on FOIA
  Administrative Appeals, you may review the Department’s FOIA regulations at 43 C.F.R. Part 2,
  Subpart H. If you have any further questions relating to this response, please contact Ms. Pat
  Ford (USFWS Division of Scientific Authority, MS: IA, 5275 Leesburg Pike, Falls Church,
  Virginia 22041 (phone: 703- 358-2494; e-mail: patricia_ford@fws.gov).

                                             Sincerely,




                                             Carrie Hyde-Michaels
                                       FOR   FWS FOIA Officer




                                                3
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 57 of
                                      110
                        United States Department of the Interior
                                 FISH AND WILDLIFE SERVICE
                                  5275 Leesburg Pike, MS: IRTM
                                     Falls Church, VA 22041

  In Reply Refer To:
  FWS/AIA/DSA/FOIA: 2019-00159
                                               November 28, 2018


  David A. Garcia
  Organization of Professional Aviculturists
  3191 Coral Way, Suite 607
  Miami, Florida 33145
  E-mail address: dgarcia@pradaurizar.com

  Dear Mr. Garcia:

  The U.S. Fish and Wildlife Service Headquarters Freedom of Information Act (FOIA) Office
  received your FOIA request dated October 15, 2018 and assigned it control number FWS-2019-
  00159. Please cite this number in any future communications with our office regarding your
  request. You requested the following:

       “… all information, relating to the approval of permits for consortium/cooperative
       breeding agreements. This includes but is not limited to all information, relating
       to the approval of permits of consortium/cooperative breeding agreements of
       CITES appendix 1 listed species.”

  We have classified you as an “other-use” requester. As such, we may charge you for
  some of our search and duplication costs, but we will not charge you for our review
  costs; you are also entitled to up to 2 hours of search time and 100 pages of photocopies
  (or an equivalent volume) for free. See 43 C.F.R. § 2.39. However, if our processing
  costs are less than $50.00, we will not bill you because the cost of collection would be
  greater than the fee collected. See 43 C.F.R. § 2.37(g).

  We use Multitrack Processing to process FOIA requests. The Simple track is for requests that
  can be processed in one to five workdays. The Normal track is for requests that can be processed
  in six to twenty workdays. The Complex track is for requests that can be processed in twenty-
  one to sixty workdays. The Exceptional/Voluminous track is for requests requiring more than
  sixty workdays for processing. The Expedited track is for requests that have been granted
  expedited processing. Within each track, requests are usually processed on a first-in, first-out
  basis.

  Your request falls into the exceptional/voluminous processing track. You may narrow the scope
  of your request to obtain quicker processing in your currently- assigned track or move the
  request into a faster track. If you have any questions about this, please contact us.

  As yet, we have been unable to make a determination on your request. We apologize for this
  delay. Although we hope that you will wait so that we can complete our search, review,
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 58 of
                                      110
  Mr. Garcia


  duplication, or consultation process, please note that you may seek dispute resolution services
  from our FOIA Public Liaison, Carrie Hyde-Michaels at (703) 358-2291 and/or seek dispute
  resolution services from the Office of Government Information Services (OGIS).
  If you choose to contact OGIS, you may do so in any of the following ways:

                            Office of Government Information Services
                           National Archives and Records Administration
                                    8601 Adelphi Road - OGIS
                                  College Park, MD 20740-6001
                                      E-mail: ogis@nara.gov
                                   Web: https://ogis.archives.gov
                                     Telephone: 202-741-5770
                                        Fax: 202-741-5769
                                     Toll-free: 1-877-684-6448

  You may also file an appeal with the Department’s FOIA/Privacy Act Appeals Officer regarding
  this delay. If you choose to appeal this delay, you may do so anytime between now and the date
  we make our determination on the FOIA request. Appeals arriving or delivered after 5 p.m.
  Eastern Time, Monday through Friday, will be deemed received on the next workday.

  Your appeal must be made in writing. You may submit your appeal and accompanying
  materials to the FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All
  communications concerning your appeal should be clearly marked with the words: "FREEDOM
  OF INFORMATION APPEAL." You must also include with your appeal copies of all
  correspondence between you and FWS concerning your FOIA request, including your original
  FOIA request and FWS's response. Failure to include with your appeal all correspondence
  between you and FWS will result in the Department's rejection of your appeal, unless the
  FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy Act Appeals Officer’s sole
  discretion) that good cause exists to accept the defective appeal.

  Please include your name and daytime telephone number (or the name and telephone number of
  an appropriate contact), email address and fax number (if available) in case the FOIA/Privacy
  Act Appeals Officer needs additional information or clarification of your appeal.

                    DOI FOIA/Privacy Act Appeals Office Contact Information

                                      Department of the Interior
                                       Office of the Solicitor
                                        1849 C Street, N.W.
                                           MS-6556 MIB
                                       Washington, DC 20240

                               Attn: FOIA/Privacy Act Appeals Office




                                                  2
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 59 of
                                      110
  Mr. Garcia


                                  Telephone: (202) 208-5339
                                      Fax: (202) 208-6677
                               E-mail: FOIA.Appeals@sol.doi.gov

  We regret the delay and appreciate your consideration. For more information on FOIA
  Administrative Appeals, you may review the Department’s FOIA regulations at 43 C.F.R. Part 2,
  Subpart H. If you have any further questions relating to this response, please contact Ms.
  Brenda Tapia (USFWS Division of Scientific Authority, MS: IA, 5275 Leesburg Pike, Falls
  Church, Virginia 22041 (phone: 703- 358-1989; e-mail: brenda_tapia@fws.gov.

                                             Sincerely,




                                             Carrie Hyde-Michaels
                                      For    FWS FOIA Officer




                                                3
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 60 of
                                      110
                           United States Department of the Interior
                                 FISH AND WILDLIFE SERVICE
                                  5275 Leesburg Pike, MS: IRTM
                                     Falls Church, VA 22041
  In Reply Refer To:
  FWS/AIA/DSA/FOIA: 2019-00160
                                       November 28, 2018


  David A. Garcia
  Organization of Professional Aviculturists
  3191 Coral Way, Suite 607
  Miami, Florida 33145
  E-mail address: dgarcia@pradaurizar.com

  Dear Mr. Garcia:

  The U.S. Fish and Wildlife Service Headquarters Freedom of Information Act (FOIA) Office
  received your FOIA request dated October 15, 2018 and assigned it control number FWS-2019-
  00160. Please cite this number in any future communications with our office regarding your
  request. You requested the following:

        “…all documents relating to its interpretation of its obligations under WBCA.”

  We have classified you as an “other-use” requester. As such, we may charge you for
  some of our search and duplication costs, but we will not charge you for our review
  costs; you are also entitled to up to 2 hours of search time and 100 pages of photocopies
  (or an equivalent volume) for free. See 43 C.F.R. § 2.39. However, if our processing
  costs are less than $50.00, we will not bill you because the cost of collection would be
  greater than the fee collected. See 43 C.F.R. § 2.37(g).

  We use Multitrack Processing to process FOIA requests. The Simple track is for requests that
  can be processed in one to five workdays. The Normal track is for requests that can be processed
  in six to twenty workdays. The Complex track is for requests that can be processed in twenty-
  one to sixty workdays. The Exceptional/Voluminous track is for requests requiring more than
  sixty workdays for processing. The Expedited track is for requests that have been granted
  expedited processing. Within each track, requests are usually processed on a first-in, first-out
  basis.

  Your request falls into the complex processing track. You may narrow the scope of your request
  to obtain quicker processing in your currently assigned track or move the request into a faster
  track. If you have any questions about this, please contact us.

  As yet, we have been unable to make a determination on your request. We apologize for this
  delay. Although we hope that you will wait so that we can complete our search, review,
  duplication, or consultation process, please note that you may seek dispute resolution services
  from our FOIA Public Liaison, Carrie Hyde-Michaels at (703) 358-2291 and/or seek dispute
  resolution services from the Office of Government Information Services (OGIS).
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                                      110
  Mr. Garcia


  If you choose to contact OGIS, you may do so in any of the following ways:

                           Office of Government Information Services
                          National Archives and Records Administration
                                   8601 Adelphi Road - OGIS
                                 College Park, MD 20740-6001
                                     E-mail: ogis@nara.gov
                                  Web: https://ogis.archives.gov
                                    Telephone: 202-741-5770
                                       Fax: 202-741-5769
                                    Toll-free: 1-877-684-6448

  You may also file an appeal with the Department’s FOIA/Privacy Act Appeals Officer regarding
  this delay. If you choose to appeal this delay, you may do so anytime between now and the date
  we make our determination on the FOIA request. Appeals arriving or delivered after 5 p.m.
  Eastern Time, Monday through Friday, will be deemed received on the next workday.

  Your appeal must be made in writing. You may submit your appeal and accompanying
  materials to the FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All
  communications concerning your appeal should be clearly marked with the words: "FREEDOM
  OF INFORMATION APPEAL." You must also include with your appeal copies of all
  correspondence between you and FWS concerning your FOIA request, including your original
  FOIA request and FWS's response. Failure to include with your appeal all correspondence
  between you and FWS will result in the Department's rejection of your appeal, unless the
  FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy Act Appeals Officer’s sole
  discretion) that good cause exists to accept the defective appeal.

  Please include your name and daytime telephone number (or the name and telephone number of
  an appropriate contact), email address and fax number (if available) in case the FOIA/Privacy
  Act Appeals Officer needs additional information or clarification of your appeal.

                    DOI FOIA/Privacy Act Appeals Office Contact Information

                                    Department of the Interior
                                     Office of the Solicitor
                                      1849 C Street, N.W.
                                         MS-6556 MIB
                                     Washington, DC 20240

                              Attn: FOIA/Privacy Act Appeals Office

                                  Telephone: (202) 208-5339
                                      Fax: (202) 208-6677
                               E-mail: FOIA.Appeals@sol.doi.gov




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  Mr. Garcia


  We regret the delay and appreciate your consideration. For more information on FOIA
  Administrative Appeals, you may review the Department’s FOIA regulations at 43 C.F.R. Part 2,
  Subpart H. If you have any further questions relating to this response, please contact Ms. Pat
  Ford (USFWS Division of Scientific Authority, MS: IA, 5275 Leesburg Pike, Falls Church,
  Virginia 22041 (phone: 703- 358-2494; e-mail: patricia_ford@fws.gov).

                                             Sincerely,




                                      For    Carrie Hyde-Michaels
                                             FWS FOIA Officer




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                                      110
                        United States Department of the Interior
                                 FISH AND WILDLIFE SERVICE
                                  5275 Leesburg Pike, MS: IRTM
                                     Falls Church, VA 22041
  In Reply Refer To:
  FWS/AIA/DSA/FOIA: 2019-00161

                                           November 28, 2018


  David A. Garcia
  Organization of Professional Aviculturists
  3191 Coral Way, Suite 607
  Miami, Florida 33145
  E-mail address: dgarcia@pradaurizar.com

  Dear Mr. Garcia:

  The U.S. Fish and Wildlife Service Headquarters Freedom of Information Act (FOIA) Office
  received your FOIA request dated October 15, 2018 and assigned it control number FWS-2019-
  00161. Please cite this number in any future communications with our office regarding your
  request. You requested the following:

     “…all information related to FWS's obligations to issue regulations under the Wild
     Bird Conservation Act. Particularly, we are requesting information relating to the
     agencies failure to include additional species on the approved list for captive-bred
     species.”

  We have classified you as an “other-use” requester. As such, we may charge you for
  some of our search and duplication costs, but we will not charge you for our review
  costs; you are also entitled to up to 2 hours of search time and 100 pages of photocopies
  (or an equivalent volume) for free. See 43 C.F.R. § 2.39. However, if our processing
  costs are less than $50.00, we will not bill you because the cost of collection would be
  greater than the fee collected. See 43 C.F.R. § 2.37(g).

  We use Multitrack Processing to process FOIA requests. The Simple track is for requests that
  can be processed in one to five workdays. The Normal track is for requests that can be processed
  in six to twenty workdays. The Complex track is for requests that can be processed in twenty-
  one to sixty workdays. The Exceptional/Voluminous track is for requests requiring more than
  sixty workdays for processing. The Expedited track is for requests that have been granted
  expedited processing. Within each track, requests are usually processed on a first-in, first-out
  basis.

  Your request falls into the complex processing track. You may narrow the scope of your request
  to obtain quicker processing in your currently- assigned track or move the request into a faster
  track. If you have any questions about this, please contact us.
  As yet, we have been unable to make a determination on your request. We apologize for this
  delay. Although we hope that you will wait so that we can complete our search, review,
  duplication, or consultation process, please note that you may seek dispute resolution services
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                                      110
  Mr. Garcia


  from our FOIA Public Liaison, Carrie Hyde-Michaels at (703) 358-2291 and/or seek dispute
  resolution services from the Office of Government Information Services (OGIS).
  If you choose to contact OGIS, you may do so in any of the following ways:

                           Office of Government Information Services
                          National Archives and Records Administration
                                   8601 Adelphi Road - OGIS
                                 College Park, MD 20740-6001
                                     E-mail: ogis@nara.gov
                                  Web: https://ogis.archives.gov
                                    Telephone: 202-741-5770
                                       Fax: 202-741-5769
                                    Toll-free: 1-877-684-6448

  You may also file an appeal with the Department’s FOIA/Privacy Act Appeals Officer regarding
  this delay. If you choose to appeal this delay, you may do so anytime between now and the date
  we make our determination on the FOIA request. Appeals arriving or delivered after 5 p.m.
  Eastern Time, Monday through Friday, will be deemed received on the next workday.

  Your appeal must be made in writing. You may submit your appeal and accompanying
  materials to the FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All
  communications concerning your appeal should be clearly marked with the words: "FREEDOM
  OF INFORMATION APPEAL." You must also include with your appeal copies of all
  correspondence between you and FWS concerning your FOIA request, including your original
  FOIA request and FWS's response. Failure to include with your appeal all correspondence
  between you and FWS will result in the Department's rejection of your appeal, unless the
  FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy Act Appeals Officer’s sole
  discretion) that good cause exists to accept the defective appeal.

  Please include your name and daytime telephone number (or the name and telephone number of
  an appropriate contact), email address and fax number (if available) in case the FOIA/Privacy
  Act Appeals Officer needs additional information or clarification of your appeal.

                    DOI FOIA/Privacy Act Appeals Office Contact Information

                                    Department of the Interior
                                     Office of the Solicitor
                                      1849 C Street, N.W.
                                         MS-6556 MIB
                                     Washington, DC 20240

                              Attn: FOIA/Privacy Act Appeals Office

                                  Telephone: (202) 208-5339
                                      Fax: (202) 208-6677
                               E-mail: FOIA.Appeals@sol.doi.gov

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  Mr. Garcia


  We regret the delay and appreciate your consideration. For more information on FOIA
  Administrative Appeals, you may review the Department’s FOIA regulations at 43 C.F.R. Part 2,
  Subpart H. If you have any further questions relating to this response, please contact Ms. Pat
  Ford (USFWS Division of Scientific Authority, MS: IA, 5275 Leesburg Pike, Falls Church,
  Virginia 22041 (phone: 703- 358-2494; e-mail: patricia_ford@fws.gov).

                                      Sincerely,




                                      Carrie Hyde-Michaels
                             FOR      FWS FOIA Officer




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                  Exhibit P
1/8/2019 Case                Prada Urizar,
                1:19-cv-20195-JLK          PLLC Mail - USFWS
                                        Document        10-1FOIA requests 2019-00157,
                                                               Entered      on FLSD   2019-00158,
                                                                                          Docket  2019-00160, and 2019-00161
                                                                                                      04/30/2019         Page 67 of
                                                                 110
                                                                                              David Garcia <dgarcia@pradaurizar.com>



 USFWS FOIA requests 2019­00157, 2019­00158, 2019­00160, and 2019­00161
 1 message

 Ford, Patricia <patricia_ford@fws.gov>                                               Tue, Dec 11, 2018 at 11:25 AM
 To: dgarcia@pradaurizar.com
 Cc: Rosemarie Gnam <rosemarie_gnam@fws.gov>, "Babij, Eleanora" <eleanora_babij@fws.gov>

    Dear Mr. Garcia,

    Please find attached the final letters to you regarding your USFWS FOIA requests: 2019­00157, 2019­00158, 2019­00160,
    and 2019­00161, plus three attachments with regard to 2019­00160.

    Please confirm receipt of this email and contents.

    Best regards,
    Pat

    Pat Ford
    Division of Scientific Authority
    U.S. Fish & Wildlife Service ­ International Affairs
    5275 Leesburg Pike, MS: IA
    Falls Church, VA 22041­3803
    703­358­2494 / patricia_ford@fws.gov




     7 attachments
         FWS FOIA 2019­00158 final ltr.pdf
         258K
         FWS FOIA 2019­00157 final ltr.pdf
         307K
         FWS FOIA 2019­00160 final ltr.pdf
         307K
         FWS FOIA 2019­00161 final ltr.pdf
         294K
         WBCA Final Rule_FR Vol 59_12­2­1994.pdf
         60K
         WBCA Final Rule FR Vol 61_1­24­1996.pdf
         161K
         WBCA Final Rule FR Vol 58_11­16­1993.pdf
         1423K




https://mail.google.com/mail/u/0?ik=ddb58338e0&view=pt&search=all&permthid=thread-f%3A1619573421893067710&simpl=msg-f%3A1619573421893067710   1/1
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                 Exhibit Q
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                           United States Department of the Interior
                                         FISH AND WILDLIFE SERVICE
                                                 5275 Leesburg Pike, MS: IA
 IN REPLY REFER TO:                                Falls Church, VA 22041
    FWS-2019-00159


                                                       March 4, 2019


David A. Garcia
Organization of Professional Aviculturist (OPA)
3191 Coral Way Suite 607
Miami, FL 33145
Email: dgarcia@pradaurizar.com

Dear Mr. Garcia:

This is the Division of Management Authority’s (DMA) final response to your Freedom of Information Act
(FOIA) request dated October 17, 2018 and received October 15, 2018, for the following information:

        “….1) The OPA is also requesting all information, relating to the approval of permits for
        consortium/cooperative breeding agreements.

        1a) This includes but is not limited to all information, relating to the approval of permits of
        consortium/cooperative breeding agreements of CITES appendix 1 listed species.”

Per the electronic email of November 19, 2018, you narrowed/clarified the request to “will limit its requests to the
time period since 10/05/2016 - 11/01/2018. Agreement letters would be acceptable. A spreadsheet would also be
acceptable if it lists all submitted requests and their outcomes within the proposed period, as well as processing
times. The OPA would also like to know whether the cooperative breeding agreements ultimately approved by the
Service resulted from negotiated agreements or were approved as submitted. Also requested are any non-
publically available guidance related to how the Service decides to approve such agreements. The information
requested is limited to agreements for approval of CITES Appendix 1 species.”

We have enclosed 29 pages of records responsive to your FOIA request, which we are releasing to you in part.
Portions of these materials are being withheld under FOIA Exemption 6; See 5 U.S.C. § 552 (b)(6).

Exemption 6 allows an agency to withhold “personnel and medical files and similar files the disclosure of which
would constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6). We are withholding
4 pages in part under Exemption 6.

The phrase “similar files” covers any agency records containing information about a particular individual that can
be identified as applying to that individual. To determine whether releasing records containing information about
a particular individual would constitute a clearly unwarranted invasion of personal privacy, we are required to
balance the privacy interest that would be affected by disclosure against any public interest in the information.

Under the FOIA, the only relevant public interest to consider under the exemption is the extent to which the
information sought would shed light on an agency’s performance of its statutory duties or otherwise let citizens
know what their government is up to. The burden is on the requester to establish that disclosure would serve the
public interest. When the privacy interest at stake and the public interest in disclosure have been determined, the
two competing interests must be weighed against one another to determine which the greater result of disclosure
is: the harm to personal privacy or the benefit to the public. The purposes for which the request for information is
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made do not impact this balancing test, as a release of information requested under the FOIA constitutes a release
to the general public.

The information that has been withheld under Exemption 6 consists of personal information such as mailing street
addresses and zip codes; we have determined that the individuals to whom this information pertains have a
substantial privacy interest in withholding it. Additionally, you have not provided information that explains a
relevant public interest under the FOIA in the disclosure of this personal information and we have determined that
the disclosure of this information would shed little or no light on the performance of the agency’s statutory duties.
Because the harm to personal privacy is greater than whatever public interest may be served by disclosure, release
of the information would constitute a clearly unwarranted invasion of the privacy of these individuals and we are
withholding it under Exemption 6.

We reasonably foresee that disclosure would harm an interest protected by one or more of the nine exemptions to
the FOIA’s general rule of disclosure.

Carrie Hyde-Michaels, FWS FOIA Officer, is responsible for this partial denial. Larry Mellinger and Russell
Husen, Attorney-Advisors, in the Office of the Solicitor were consulted.

We do not bill requesters for FOIA processing fees when their fees are less than $50.00, because the cost of
collection would be greater than the fee collected. See 43 C.F.R. § 2.37(g). Therefore, there is no billable fee for
the processing of this request and there is no need for us to address your request for a fee waiver.

You may appeal this response to the U.S. Department of Interior’s (Department) FOIA/Privacy Act Appeals
Officer. If you choose to appeal, the FOIA/Privacy Act Appeals Officer must receive your FOIA appeal no later
than 90 workdays from the date of this letter. Appeals arriving or delivered after 5 p.m. Eastern Time, Monday
through Friday, will be deemed received on the next workday.

Your appeal must be made in writing. You may submit your appeal and accompanying materials to the
FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All communications concerning your
appeal should be clearly marked with the words: "FREEDOM OF INFORMATION APPEAL." You must
include an explanation of why you believe the U.S. Fish and Wildlife Service’s (USFWS) response is in error.
You must also include with your appeal copies of all correspondence between you and the USFWS concerning
your FOIA request, including your original FOIA request and the USFWS's response. Failure to include with
your appeal all correspondence between you and the USFWS will result in the Department's rejection of your
appeal, unless the FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy Act Appeals Officer’s sole
discretion) that good cause exists to accept the defective appeal.

Please include your name and daytime telephone number (or the name and telephone number of an appropriate
contact), email address and fax number (if available) in case the FOIA/Privacy Act Appeals Officer needs
additional information or clarification of your appeal.

DOI FOIA/Privacy Act Appeals Office Contact Information
Department of the Interior
Office of the Solicitor
1849 C Street, N.W.
MS-6556 MIB
Washington, DC 20240
Attn: FOIA/Privacy Act Appeals Office

Telephone: (202) 208-5339
Fax: (202) 208-6677
Email: FOIA.Appeals@sol.doi.gov
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The 2007 FOIA amendments created the Office of Government Information Services (OGIS) to offer mediation
services to resolve disputes between FOIA requesters and Federal agencies as a non-exclusive alternative to
litigation. Using OGIS services does not affect your right to pursue litigation. You may contact OGIS in any of
the following ways:

Office of Government Information Services
National Archives and Records Administration
8601 Adelphi Road - OGIS
College Park, MD 20740-6001

E-mail: ogis@nara.gov
Web: https://ogis.archives.gov
Telephone: 202-741-5770
Fax: 202-741-5769
Toll-free: 1-877-684-6448

Please note that using OGIS services does not affect the timing of filing an appeal with the Department’s FOIA
and Privacy Act Appeals Officer. You may also seek dispute resolution services from our FOIA Public Liaison,
Carrie Hyde-Michaels at (703) 358-2291 or at Carrie_Hyde-Michaels@fws.gov.

For your information, Congress excluded three discrete categories of law enforcement and national security
records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This response is limited to those records that
are subject to the requirements of the FOIA. This is a standard notification that is given to all our requesters and
should not be taken as an indication that excluded records do, or do not, exist.

This completes our response. If you have any questions, please contact Ms. Brenda Tapia, Division of
Management Authority, Branch of Permits, MS: IA, 5275 Leesburg Pike, Falls Church, Virginia 22041 (703-358-
1989 or via e-mail at Brenda_Tapia@fws.gov).

                                                          Sincerely,




                                                          Carrie Hyde-Michaels
                                                          FWS FOIA Officer

Attached
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                  Exhibit R
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 102 of
                                      110
                         United States Department of the Interior
                                      FISH AND WILDLIFE SERVICE
                                             5275 Leesburg Pike, MS: IA
 IN REPLY REFER TO:                            Falls Church, VA 22041
    FWS-2019-00156


                                                 March 12, 2019


David A. Garcia
Organization of Professional Aviculturist (OPA)
3191 Coral Way Suite 607
Miami, FL 33145
Email: dgarcia@pradaurizar.com

Dear Mr. Garcia:

This is the Division of Management Authority’s (DMA) final response to your Freedom of Information
Act (FOIA) request dated October 18, 2018, received on October 18, 2018, and assigned control number
FWS-2019-00156. You requested the following information:

       “….all information relating to the attempt by the Argentinian CITES authority to petition the
       USFWS to allow for sustainable import of blue front amazon.”

Per the electronic email of November 19, 2018, you narrowed/clarified the request to “The OPA is
specifically requesting information as to why the final proposed rule relating to the listing of wild
harvested Blue Fronted Amazons published in the Federal Register at 68 FR 46559 on August 6, 2003
was never finalized or issued. And why it was ultimately withdrawn on December 21, 2015, 80 FR
79300.”

Please see the attached 7 pages of responsive records, which are being released to you in their entirety.
All information under the FOIA and Privacy Act regulations (43 CFR 2) has been provided.

We do not bill requesters for FOIA processing fees when their fees are less than $50.00, because the cost
of collection would be greater than the fee collected. See 43 C.F.R. § 2.37(g). Therefore, there is no
billable fee for the processing of this request

The 2007 FOIA amendments created the Office of Government Information Services (OGIS) to offer
mediation services to resolve disputes between FOIA requesters and Federal agencies as a non-exclusive
alternative to litigation. Using OGIS services does not affect your right to pursue litigation. You may
contact OGIS in any of the following ways:

Office of Government Information Services
National Archives and Records Administration
8601 Adelphi Road - OGIS
College Park, MD 20740-6001
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E-mail: ogis@nara.gov
Web: https://ogis.archives.gov
Telephone: 202-741-5770
Fax: 202-741-5769
Toll-free: 1-877-684-6448

Please note that using OGIS services does not affect the timing of filing an appeal with the Department’s
FOIA and Privacy Act Appeals Officer. You may also seek dispute resolution services from our FOIA
Public Liaison, Carrie Hyde-Michaels, at (703) 358-2291 or at Carrie_Hyde-Michaels@fws.gov.

For your information, Congress excluded three discrete categories of law enforcement and national
security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This response is limited to
those records that are subject to the requirements of the FOIA. This is a standard notification that is
given to all our requesters and should not be taken as an indication that excluded records do, or do not,
exist.

This completes our response. If you have any questions, please contact Ms. Brenda Tapia, Division of
Management Authority, Branch of Permits, MS: IA, 5275 Leesburg Pike, Falls Church, Virginia 22041
(703-358-1989 or via e-mail at Brenda_Tapia@fws.gov).

                                                     Sincerely,




                                                     Carrie Hyde-Michaels
                                                     FWS FOIA Officer

Attached
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   In Reply Refer To:
   FWS/IA/DMA




   Lic. Pablo Edgardo Mesa
   Director Nacional de Ordenamiento Ambiental y Conservación de la Biodiversidad
   Subsecretaría de Planificación y Política Ambiental
   Secretaría de Ambiente y Desarrollo Sustentable
   San Martín 451
   piso 2, oficina 261
   1104 Buenos Aires
   Argentina


   By e-mail to pemesa@ambiente.gov.ar


   Dear Mr. Mesa:

   I am contacting you in order to obtain current information on the status of Project Elé, which
   involves the removal of live specimens of Amazona aestiva from the wild for export. For over
   10 years we have had under consideration a petition from the Government of Argentina to
   approve this project to allow imports under the U.S. Wild Bird Conservation Act (WBCA).
   Under the WBCA, we may approve imports from a country for species subject to a sustainable-
   use management plan that meets specific criteria established in our regulations.

   Unfortunately, we have been unable to approve the program and allow the import of birds
   derived from it. However, we also have not rejected the petition. Because the approval of a
   program under the WBCA is a regulatory action, this has remained as a pending action for
   several years, and we must now conclude the action by either approving or disapproving
   Argentina’s program. It is very unlikely that we could approve the program based on the
   information we have on file. Furthermore, it is likely that the program has continued to evolve
   so that the information we have is no longer current. Therefore, we suggest that the petition
   from Argentina be withdrawn. If the petition is withdrawn, it prevents us from taking a negative
   action (disapproving the petition). Please note that withdrawal of the current petition does not
   prevent the submission of a new petition; indeed, a revised petition with up-to-date information
   could be submitted for consideration.
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   Please advise as to whether you wish to withdraw the petition for approval of imports of
   Amazona aestiva into the United States or if you prefer that we take a decision on this matter. If
   you are not the appropriate person to respond on this matter, please refer it to the correct office.

   We look forward to your response and thank you for your attention to this matter.

                                                 Sincerely,


                                                 Robert R. Gabel, Chief
                                                 Division of Management Authority
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                                Argentina letter translation: Paraphrased
                                  Jorgenson/DSA: October 24, 2014



   Chief of the Cabinet of Ministers
   Ministry of the Environment of Sustainable Development

   Buenos Aires
   Reference No. 409
   [undated]

   Mr. Robert R. Gabel
   Chief of the Division of Management Authority
   U.S. Fish and Wildlife Service
   4401 N Fairfax Drive, Room 212
   Arlington, Virginia 22203-3247 USA

   Dear Mr. Gabel:

   I would like to take this opportunity to address your comments made in response to the petition
   presented by my country with regard to the export of Amazona aestiva in the context of the Elé
   Project.

   In this regard, I would like to inform you that we have decided to withdraw the petition for the
   exportation of live specimens of this species that is mentioned in the context of the regulations
   for the U.S. Wildlife Bird Conservation Act (WBCA).

   As was mentioned in your note, in our country programs for the sustainable use of wildlife are
   being reformulated. Specifically, Amazona aestiva is included among those species that must be
   certified prior to exportation that they originate from properties with forestry management plans.
   This has generated the development of administrative and technical mechanisms based on an
   ecosystem perspective that go much beyond the traditional sustainable management criteria for
   species.

   Finally, my understanding is that this letter is sufficient notification for the withdrawal of the
   petition.

   Sincere greetings,

   /s/

   Lic. Pablo E. Mesa
   National Director of Environmental Management
          and Biodiversity Conservation
   Ministry of the Environment of Sustainable Development
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LEGAL STATUS



                                                                                                                                    LEGAL STATUS



Wild Bird Conservation Act; Blue-Fronted Amazon Parrots From Argentina's Sustainable-Use Management Plan
A Proposed Rule by the Fish and Wildlife Service on 12/21/2015




DOCUMENT DETAILS

 Printed version:
  PDF (https://www.govinfo.gov/content/pkg/FR-2015-12-21/pdf/2015-32054.pdf)

 Publication Date:
  12/21/2015 (/documents/2015/12/21)

 Agencies:
  Fish and Wildlife Service (https://www.federalregister.gov/agencies/fish-and-wildlife-service)

 Dates:
  This document is withdrawn as of December 21, 2015.

 Document Type:
  Proposed Rule

 Document Citation:
  80 FR 79300

 Page:
  79300-79301 (2 pages)

 CFR:
  50 CFR 23

 Agency/Docket Numbers:
  Docket No. FWS-HQ-IA-2015-0035
  96300-1671-0000-R4

 RIN:
  1018-AH89 (https://www.federalregister.gov/regulations/1018-AH89/importation-of-exotic-wild-birds-adding-blue-fronted-amazon-parrots-from-
    argentina-s-approved-sustai)

 Document Number:
  2015-32054


                                                                                                                               DOCUMENT DETAILS


DOCUMENT STATISTICS

 Page views:
  89
  as of 02/25/2019 at 2:15 pm EST


                                                                                                                            DOCUMENT STATISTICS


ENHANCED CONTENT




 Docket Number:
  FWS-HQ-IA-2015-0035 (https://www.regulations.gov/docket?D=FWS-HQ-IA-2015-0035)

 Docket Name:
  Wild Bird Conservation Act; Withdrawal of Proposed Rule to Add Blue-Fronted Amazon Parrots from Argentina's Sustainable-Use Management Plan

 Docket RIN




https://www.federalregister.gov/documents/2015/12/21/2015-32054/wild-bird-conservatio... 2/25/2019
Federal Register :: Wild Bird Conservation Act; Blue-Fronted Amazon Parrots From Arg... Page 2 of 3
Case 1:19-cv-20195-JLK Document 10-1 Entered on FLSD Docket 04/30/2019 Page 109 of
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  1018-AH89 (https://www.federalregister.gov/regulations/1018-AH89/importation-of-exotic-wild-birds-adding-blue-fronted-amazon-parrots-from-
   argentina-s-approved-sustai)


                                                                                                                              ENHANCED CONTENT


PUBLISHED DOCUMENT




   AGENCY:
   Fish and Wildlife Service, Interior.


   ACTION:
   Proposed rule; withdrawal.


   SUMMARY:
   We, the U.S. Fish and Wildlife Service (Service, or we), withdraw a 2003 proposed rule to approve a
   sustainable-use management plan developed by the Management Authority of Argentina for blue-fronted
   amazon parrots (Amazona aestiva), under the Wild Bird Conservation Act of 1992. We are taking this action
   because Argentina has withdrawn their application. As a result, we will no longer consider allowing
   importation of this species from Argentina under this plan.


   DATES:
   This document is withdrawn as of December 21, 2015.


   FOR FURTHER INFORMATION CONTACT:
   Craig Hoover, Chief, Division of Management Authority, U.S. Fish and Wildlife Service Headquarters, MS:
   IA; 5275 Leesburg Pike, Falls Church, VA 22041-3803; telephone 703-358-2095; facsimile 703-358-2298. If
   you use a telecommunications device for the deaf (TDD), call the Federal Information Relay Service (FIRS)
   at 800-877-8339.


   SUPPLEMENTARY INFORMATION:
   Background
   The Convention on International Trade in Endangered Species of Wild Fauna and Flora (CITES) is an
   international treaty designed to regulate international trade in certain animal and plant species that are now,
   or may become, threatened with extinction. These species are listed in the Appendices to CITES, which are
   available on the CITES Secretariat's Web site at http://www.cites.org/eng/app/appendices.php
   (http://www.cites.org/eng/app/appendices.php). Currently 180 countries and the European Union have
   ratified, accepted, approved, or acceded to CITES; these 181 entities are known as Parties. The U.S. Fish
   and Wildlife Service has been delegated authority to carry out U.S. responsibilities under CITES.
   The Wild Bird Conservation Act of 1992 (WBCA) limits or prohibits import into the United States of exotic bird
   species to ensure that their wild populations are not harmed by international trade. It also encourages wild
   bird conservation programs in countries of origin by ensuring that all imports of such species are biologically
   sustainable and not detrimental to the survival of the species.

   Previous Federal Actions
   On November 16, 1993, we published a final rule in the Federal Register (58 FR 60524) that implemented
   the prohibitions stipulated in the WBCA and provided permit requirements and procedures for some allowed
   exemptions. In that rule, we informed the public that imports of all CITES-listed birds (as defined in the rule)
   were prohibited, except for (a) species included in an approved list; (b) specimens for which an import permit
   has been issued; (c) species from countries that have approved sustainable-use management plans for
   those species; or (d) specimens from approved foreign captive-breeding facilities. Criteria for approval of
   sustainable-use management plans are in title 50 of the Code of Federal Regulations at 50 CFR 15.32
   (/select-citation/2015/12/21/50-CFR-15.32).
   Argentina petitioned the Service to allow the import into the United States of blue-fronted amazon parrots
   (Amazona aestiva) removed from the wild in Argentina under an approved sustainable-use management
   plan. Consequently, on August 10, 2000, we published a notice of receipt of application for approval in the
   Federal Register (65 FR 49007 (/citation/65-FR-49007)) that announced the receipt of a petition from the
   CITES Management Authority of Argentina, Dirección de Fauna and Flora Silvestre, for approval of a
   sustainable-use management plan for the blue-fronted amazon parrot in Argentina. On January 8, 2003, we




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Federal Register :: Wild Bird Conservation Act; Blue-Fronted Amazon Parrots From Arg... Page 3 of 3
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   published a notice in the Federal Register (68 FR 1066 (/citation/68-FR-1066)) announcing the availability
   of a draft environmental assessment of the addition of blue-fronted amazon parrots from a sustainable-use
   management plan in Argentina to the approved list of non-captive-bred birds under the WBCA.
   Later that year, on August 6, 2003, we published a proposed rule in the Federal Register (68 FR 46559
   (/citation/68-FR-46559)) to approve a sustainable-use management plan developed by the CITES
   Management Authority of Argentina for blue-fronted amazon parrots under the WBCA. The proposed rule
   would add blue-fronted amazon parrots from Argentina's program to the approved list of non-captive-bred
   (wild-caught) species contained at 50 CFR 15.33 (/select-citation/2015/12/21/50-CFR-15.33)(b). The                Start Printed
   public comment period on the proposed rule was open for 60 days.                                                  Page 79301
   On March 29, 2005, we published a notice in the Federal Register (70 FR 15798 (/citation/70-FR-15798))
   reopening the comment period on the proposed rule for 30 days to enter into the record Dr. Jorge
   Rabinovich's 2004 study, “Modeling the Sustainable Use of the Blue-Fronted Parrot (Amazona aestiva) in
   the Dry Chaco Region of Argentina,” and to accept comments related to the relationship of this study to the
   proposed addition of blue-fronted amazon parrots from Argentina's program to the approved list of non-
   captive-bred (wild-caught) species under the WBCA. On May 24, 2005, we published a notice in the Federal
   Register (70 FR 29711 (/citation/70-FR-29711)) reopening the comment period for an additional 45 days.


   Reason for Withdrawal of Proposed Rule
   We reviewed the public comments received during the open comment periods for the notice and the proposed
   rule and new information that became available after the publication of the proposed rule. We also
   reevaluated information in our files, our proposed rule, and Argentina's request, in accordance with our
   approval criteria in 50 CFR 15.32 (/select-citation/2015/12/21/50-CFR-15.32). As a result, we determined that
   it was unlikely that we would be able to make a positive finding for the sustainable-use management plan
   developed by Argentina for blue-fronted amazon parrots under the WBCA. Subsequently, Argentina
   determined that the best course of action would be to withdraw their application. Argentina withdrew its
   application by letter (undated) from the CITES Management Authority of Argentina (Ministry of the
   Environment of Sustainable Development), therefore, we are withdrawing our proposed rule of August 6, 2003
   (68 FR 46559 (/citation/68-FR-46559)).


   Author
   The primary author of this document is Clifton A. Horton, Division of Management Authority, U.S. Fish and
   Wildlife Service (see FOR FURTHER INFORMATION CONTACT).


   Authority
   The authority for this action is the Endangered Species Act of 1973, as amended (16 U.S.C. 1531
   (https://api.fdsys.gov/link?collection=uscode&title=16&year=mostrecent&section=1531&type=usc&link-
   type=html) et seq.).
   Dated: December 9, 2015.
   Stephen Guertin,
   Acting Director, U.S. Fish and Wildlife Service.
   [FR Doc. 2015-32054 (/a/2015-32054) Filed 12-18-15; 8:45 am]
   BILLING CODE 4333-15-P
                                                                                                                   PUBLISHED DOCUMENT




https://www.federalregister.gov/documents/2015/12/21/2015-32054/wild-bird-conservatio... 2/25/2019
